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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

DEBORAH DONOHO, et al.,                              )
                                                     )
         Plaintiffs,                                 )
                                                     )
v.                                                   )       Cause No. 4:19-CV-00186-NAB
                                                     )
THE CITY OF PACIFIC, MISSOURI,                       )
                                                     )
         Defendant.                                  )

              PLAINTIFFS’ MOTION FOR APPROVAL OF FLSA SETTLEMENT

         COME NOW Plaintiffs Deborah Donoho and Cassidy Hodge1, by and through undersigned

counsel, and for their Motion for Approval of FLSA Settlement, state as follows:

         1.      Defendant City of Pacific, Missouri (“Defendant”) and Plaintiffs (collectively, “the

Parties”) attended mediation on September 16, 2019.

         2.      The Parties continued to negotiate and discuss settlement terms in the days

following mediation.

         3.      The Parties reached a settlement on all claims raised by Plaintiffs against

Defendant, including, inter alia, Plaintiffs’ FLSA claims for unpaid overtime raised in their

Complaint. (Doc. #1). The Settlement Agreement and Release memorializes the terms of the

settlement. See Exhibit 1.

         4.      This request for court approval of FLSA settlement is not opposed by any party to

this case.




1
 Both named plaintiffs and all six dispatchers who joined this lawsuit signed the Settlement Agreement and Release,
which is attached hereto as Exhibit 1. Donoho, Hodge and opt-in plaintiffs Paige Clark, Ashley Long, Luke Myers,
Samantha Sappington, Laura Toombs, and Valerie Woolfe are collectively referred to herein as “Plaintiffs.”
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       5.      Plaintiffs adopt and incorporate by reference hereto their Suggestions in Support of

Plaintiffs’ Motion for Approval of FLSA Settlement, which is filed contemporaneously with this

Motion and sets forth in more detail the basis for approval of the FLSA settlement.

       WHEREFORE, Plaintiffs respectfully request this Court enter an Order to approve the

FLSA settlement agreement (Exhibit 1) as fair, reasonable and appropriate; approve Plaintiffs’

FLSA attorneys’ fees in the amount of $29,263.20; enter and Order to dismiss this case with

prejudice; and for such other and further relief as this Court deems appropriate.


                                                     Respectfully Submitted,



                                                            /s/ Kevin Dolley
                                                     Kevin J. Dolley, #54132MO
                                                     Michael G. Mueth, #58995MO
                                                     LAW OFFICES OF KEVIN J. DOLLEY, LLC
                                                     2726 S. Brentwood Blvd.
                                                     St. Louis, MO 63144
                                                     Phone: (314) 645-4100
                                                     Facsimile: (314) 736-6216
                                                     kevin@dolleylaw.com
                                                     michael.mueth@dolleylaw.com

                                                     Attorneys for Plaintiffs

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was served on Defendant’s counsel of
record via electronic mail and the Court’s electronic filing system on October 10, 2019.


                                                             /s/ Kevin J. Dolley




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